           Case 3:24-cv-00347-AN      Document 241   Filed 08/14/24   Page 1 of 5




B. JOHN CASEY, OSB No. 120025
john.casey@stoel.com
RACHEL C. LEE, OSB No. 102944
rachel.lee@stoel.com
JACOB GOLDBERG, OSB No. 162565
jacob.goldberg@stoel.com
STOEL RIVES LLP
760 SW Ninth Avenue, Suite 3000
Portland, OR 97205
Telephone: 503.224.3380

MATTHEW M. WOLF (Pro Hac Vice)
matthew.wolf@arnoldporter.com
ARNOLD & PORTER KAYE SCHOLER LLP
601 Massachusetts Avenue, NW
Washington, DC 20001
Telephone: 202.942.5000

Attorneys for Defendant The Kroger Company




                                UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION

FEDERAL TRADE COMMISSION, STATE                Case No.: 3:24-cv-00347-AN
OF ARIZONA, STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA, STATE OF
ILLINOIS, STATE OF MARYLAND, STATE
OF NEVADA, STATE OF NEW MEXICO,                DEFENDANTS’ NOTICE OF FILING
STATE OF OREGON, and STATE OF                  UNDER SEAL CERTAIN PARTS OF
WYOMING,                                       THEIR MOTION TO PARTIALLY
                                               EXCLUDE THE EXPERT TESTIMONY
                  Plaintiffs,                  OF NICHOLAS HILL AND CERTAIN
                                               ACCOMPANYING EXHIBITS
      v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

                  Defendants.


Page 1 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN      Document 241       Filed 08/14/24     Page 2 of 5




                                            NOTICE

       Defendants are filing today a Motion to Partially Exclude the Expert Testimony of Nicholas

Hill. Defendants’ Motion attaches certain exhibits designated under the Protective Order as

Confidential or Highly Confidential or filed under seal out of an abundance of caution. Pursuant

to the Protective Order ECF No. 91, Defendants hereby give notice that they shall file a public

version of the Motion with redactions on page 7 as well as a separate nonpublic version under seal

with Exhibits 1-3.

                                                STOEL RIVES LLP
DATED: August 14, 2024
                                                /s/ B. John Casey
                                                B. JOHN CASEY, OSB No. 120025
                                                john.casey@stoel.com
                                                 RACHEL C. LEE, OSB No. 102944
                                                 rachel.lee@stoel.com
                                                 JACOB GOLDBERG, OSB No. 162565
                                                 jacob.goldberg@stoel.com

                                                AND




Page 2 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN   Document 241   Filed 08/14/24   Page 3 of 5




ANGELI LAW GROUP LLC
                                          ARNOLD & PORTER KAYE SCHOLER LLP
/s/ David H. Angeli
DAVID H. ANGELI, Bar No. 020244           MATTHEW M. WOLF (Pro Hac Vice)
david@angelilaw.com                       matthew.wolf@arnoldporter.com
PETER D. HAWKES, Bar No. 071986           SONIA K. PFAFFENROTH (Pro Hac Vice)
peter@angelilaw.com                       sonia.pfaffenroth@arnoldporter.com
121 SW Morrison Street, Suite 400         JOSHUA M. DAVIS (Pro Hac Vice)
Portland, OR 97204                        joshua.davis@arnoldporter.com
Telephone: 503.954.2232                   KOLYA D. GLICK (Pro Hac Vice)
                                          kolya.glick@arnoldporter.com
AND                                       JASON C. EWART (Pro Hac Vice)
                                          jason.ewart@arnoldporter.com
DEBEVOISE & PLIMPTON LLP                  MICHAEL E. KIENTZLE (Pro Hac Vice)
                                          michael.kientzle@arnoldporter.com
EDWARD D. HASSI (Pro Hac Vice)            MATTHEW M. SHULTZ (Pro Hac Vice)
thassi@debevoise.com                      matthew.shultz@arnoldporter.com
801 Pennsylvania Avenue NW                DAVID B. BERGMAN (Pro Hac Vice)
Washington, DC 20004                      david.bergman@arnoldporter.com
Telephone: 202.942.5000                   MICHAEL L. WALDEN (Pro Hac Vice)
                                          mike.walden@arnoldporter.com
MICHAEL SCHAPER (Pro Hac Vice)            YASMINE L. HARIK (Pro Hac Vice)
mschaper@debevoise.com                    yasmine.harik@arnoldporter.com
SHANNON ROSE SELDEN (Pro Hac Vice)        ALLISON GARDNER (Pro Hac Vice)
srselden@debevoise.com                    allison.gardner@arnoldporter.com
J. ROBERT ABRAHAM (Pro Hac Vice)          BARBARA H. WOOTTON (Pro Hac Vice)
jrabraham@debevoise.com                   barbara.wootton@arnoldporter.com
NATASCHA BORN (Pro Hac Vice)              CHRISTIAN SCHULTZ (Pro Hac Vice)
nborn@debevoise.com                       christian.schultz@arnoldporter.com
66 Hudson Boulevard                       DAVID EMANUELSON (Pro Hac Vice)
New York, NY 10001                        david.emanuelson@arnoldporter.com
Telephone: 212.909.6000                   MEI-WAH LEE (Pro Hac Vice)
                                          mei-wah.lee@arnoldporter.com
AND                                       WILSON DELOSS MUDGE (Pro Hac Vice)
                                          wilson.mudge@arnoldporter.com
WILLIAMS & CONNOLLY LLP                   601 Massachusetts Avenue, NW
                                          Washington, DC 20001
ENU A. MAINIGI (Pro Hac Vice)             Telephone: 202.942.5000
emainigi@wc.com
JONATHAN B. PITT (Pro Hac Vice)           JOHN A. HOLLER (Pro Hac Vice)
jpitt@wc.com                              john.holler@arnoldporter.com
A. JOSHUA PODOLL (Pro Hac Vice)           250 W 55th Street
apodoll@wc.com                            New York, NY 10019
THOMAS W. RYAN (Pro Hac Vice)             Telephone: 212.836.8000
tryan@wc.com
TYLER INFINGER(Pro Hac Vice)              BRIAN K. CONDON (Pro Hac Vice)

Page 3 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN     Document 241   Filed 08/14/24     Page 4 of 5




tinfinger@wc.com                            brian.condon@arnoldporter.com
WILLIAM ASHWORTH (Pro Hac Vice)             777 S. Figueroa Street, 44th Floor
washworth@wc.com                            Los Angeles, CA 90017
680 Maine Avenue SW                         Telephone: 213.243.4000
Washington, DC 20024
Telephone: 202.434.5000                     JEREMY T. KAMRAS (Pro Hac Vice)
                                            jeremy.kamras@arnoldporter.com
AND                                         Three Embarcadero Center, 10th Floor
                                            San Francisco, CA 94111
DECHERT LLP                                 Telephone: 415.471.3100

JAMES A. FISHKIN (Pro Hac Vice)             AND
james.fishkin@dechert.com
MICHAEL COWIE (Pro Hac Vice)                WEIL, GOTSHAL & MANGES LLP
mike.cowie@dechert.com
ELENA KAMENIR (Pro Hac Vice)                MARK A. PERRY (Pro Hac Vice)
elena.kamenir@dechert.com                   mark.perry@weil.com
1900 K Street NW                            LUKE SULLIVAN (Pro Hac Vice)
Washington, DC 20006                        luke.sullivan@weil.com
Telephone: 202.261.3300                     JASON N. KLEINWAKS (Pro Hac Vice)
                                            jason.kleinwaks@weil.com
HOWARD. M. ULLMAN (Pro Hac Vice)            2001 M Street, NW, Suite 600
howard.ullman@dechert.com                   Washington, DC 20036
45 Fremont St, 26th Floor                   Telephone: 202.682.7000
San Francisco, CA 94105
Telephone: 415.262.4500                     LUNA N. BARRINGTON (Pro Hac Vice)
                                            luna.barrington@weil.com
ROSS UFBERG (Pro Hac Vice)                  767 Fifth Avenue
ross.ufberg@dechert.com                     New York, NY 10153
YOSEF WEITZMAN (Pro Hac Vice)               Telephone: 212.310.8000
yosi.weitzman@dechert.com
Cira Centre                                 SARAH M. STERNLIEB (Pro Hac Vice)
2929 Arch Street                            sarah.sternlieb@weil.com
Philadelphia, PA 19104                      700 Louisiana Street, Suite 3700
Telephone: 215.994.2422                     Houston, TX 77002
                                            Telephone: 713.546.5000
Attorneys for Defendant Albertsons
Companies, Inc.                             BAMBO OBARO (Pro Hac Vice)
                                            bambo.obaro@weil.com
                                            201 Redwood Shores Parkway
                                            Redwood Shores, CA 94065
                                            Telephone: 650.802.3000

                                            THOMAS B. FIASCONE (Pro Hac Vice)
                                            tom.fiascone@weil.com
                                            REBECCA SIVITZ (Pro Hac Vice)

Page 4 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
           Case 3:24-cv-00347-AN   Document 241   Filed 08/14/24     Page 5 of 5




                                          rebecca.sivitz@weil.com
                                          100 Federal Street, Floor 34
                                          Boston, MA 02110
                                          Telephone: 617.722.8314

                                          Attorneys for Defendant The Kroger Company




Page 5 –      DEFENDANTS’ NOTICE OF FILING UNDER SEAL
